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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 COVINGTON DIVISION


     JOHN ANTONY,                            Case No: 2:18-cv-00205-DLB-CJS


           Plaintiff,                        Judge David L. Bunning


     VS.                                     Magistrate Judge Candace J. Smith


     BUENA VISTA BOOKS, INC.


           Defendant.



                        EXPERT REPORT OF PROFESSOR DAVID HULL




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                         EXPERT REPORT OF PROFESSOR DAVID HULL

     I.      Background and Expertise

             Iam an Associate Professor of Chinese Language and Literature at Washington College

     in Chestertown, Maryland. Ireceived abachelor's degree in East Asian Languages and Cultures

     in 2003 and amaster's degree in East Asian Languages and Cultures in 2006 from the University

     of California, Santa Barbara. As part of my undergraduate education, Ilived in China for ayear

     and studied Chinese language, culture, literature, and history at Beijing Normal University and

     Peking University. Ireceived aPh.D in Modern Chinese Literature in 2012 from the University

     of California, Los Angeles. During my graduate studies, Ispent one summer in Tokyo, Japan

     and one summer in Beijing, China taking language and culture courses.

             Ihave focused my career on Chinese language, literature, and culture. From 1996 to

     2000, 1served in the United States Army in signals intelligence; Istudied the Chinese language

     as part of my role. Ithen taught English in China for one year after leaving the Army. As an

     academic, Iconduct research on 20th1century Chinese literature and translation theory. Ihave

     translated several important Chinese works, including novels and scripts. Ihave spent

     approximately 1.5 years total conducting research in China, including on apredissertation

     fellowship in Shanghai in 2009-10 and asemester-long sabbatical in Hong Kong and Shanghai in


     2019.

             During my time working as aprofessor at liberal arts colleges since 2013, including in

     my current role at Washington College, Ihave prepared and taught courses on abroad array of

     subjects relating to Chinese language, literature, and culture. At Washington College, Iam the

     only Chinese language and literature professor, so Iteach everything from the Chinese language

     to the canonical classics of Chinese literature to surveys of film and pop culture in China and

     throughout East Asia. My courses include Stories of the Strange, asurvey of the mythological
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     "Other" in Chinese culture and literature; survey courses covering Chinese literature; acourse

     entitled East Asian Pop Culture; and anew course on narrative in video games, which includes

     Chinese works. These courses cover, among other things, the early mythology of China,

     including stories related to the Chinese zodiac, and the way these myths appear in current-day

     literature, video games, film, and other media. Ialso advise the Chinese Culture Club and help

     run Asian-focused events on campus, such as the Lunar New Year Festival and Chinese food


     nights.

               My CV is attached as Exhibit A. Apart from in this litigation, Ihave never been retained

     as an expert witness.

     II.       Assignment

               Ihave prepared and delivered this report in connection with Antony v. Buena Vista Books,

     Inc., No. 2:1 8-cv-205-DLB-CJS, currently pending in the United States District Court for the

     Eastern District of Kentucky. Ihave been retained by counsel for Buena Vista Books, Inc. and

     am being compensated for my time at the rate of $350 per hour. If Itestify in this matter, Iwill

     be compensated at the same hourly rate.

               At counsel's request, Ihave provided in this report an account of the origins and

     development of the Chinese zodiac, its traditional characteristics, and its uses in modem film,

     literary, and other works. All resources Ihave relied on while preparing this report are cited in


     the footnotes to this report.

     Ill.      Summary of Opinions

               In this report, Iprovide abrief history of the Chinese zodiac, an account of the Chinese

     zodiac's standard features, and adescription of characteristics associated in Chinese culture with

     the animals of the Chinese zodiac. Ithen describe the Chinese zodiac's introduction into

     American culture and its many appearances in film, television, and literary works. Finally, I

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     address certain features of Plaintiffs screenplay that are drawn from Chinese culture and

     tradition or from American interpretations of Chinese culture and tradition. A high-level

     summary of my report appears below.

             History and Standard Features of the Chinese Zodiac: The Chinese zodiac is a

     traditional Chinese mythological concept composed of twelve animals, each of which represents

     asingle year in arepeating twelve-year cycle. The Chinese zodiac originated in astrological

     concepts that first arose in China as early as the Warring States Period over 2,500 years ago

     (475-221 BCE), and matured over the centuries into astable configuration of twelve animals

     with associated characteristics. The Chinese zodiac is commonly represented visually as acircle,

     with the twelve zodiac animals arrayed around the circle in aset order that repeats, or cycles,

     eternally.

             The Chinese zodiac has been used for centuries for purposes of predicting people's

     futures, and has developed in modern times into ahoroscope system akin to the Western zodiac

     horoscope. All people have an assigned zodiac animal based on the year of their birth, and each

     zodiac animal is traditionally associated with character traits that are shared by people born

     under that animal's sign. The specific character traits that horoscopes assign to each zodiac

     animal can vary; for example, aperson born in the year of the Ox might be regarded as

     reasonable and determined by one horoscope, and egotistical by another. But all Chinese zodiac

     horoscopes share the same basic premise: that one's zodiac animal helps shape one's real-world

     character.

             Chinese and Chinese-American Associations with Animals Featured in the Chinese


     Zodiac: In Chinese folklore and tradition more broadly, the individual animals of the Chinese

     zodiac are commonly associated with particular character traits. For example, pigs are




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     associated with heroism and good fortune, rats are associated with treacherous or tricky

     behavior, and dragons are associated with power and with martial arts, particularly kung fu.

     These associations are derived from popular mythology, literature, idioms, and modem-day

     cultural products like kung fu films and are widely recognized.

             The Chinese Zodiac in Modern Times.' The Chinese zodiac permeated American culture

     beginning in the mid-twentieth century and is ashared cultural reference point for Americans of

     all backgrounds. By the turn of the twenty-first century, Americans regularly encountered the

     Chinese zodiac in avariety of contexts. For example, Chinese restaurants across the country

     have for decades used placemats that feature the Chinese zodiac and educate diners about its

     twelve-year cycle, its standard animal signs, and the relationship between zodiac signs and

     people's character traits and abilities. The Chinese zodiac also often appears in literature and

     film, in educational settings, and during annual Lunar New Year parades and festivals

     nationwide. A body of English-language film and literature drawing on the Chinese zodiac

     emerged beginning at least in the 1990s. These works commonly conceive of the Chinese zodiac

     as having magical or supernatural features or involve teams of superheroes with powers derived

     from the animals of the Chinese zodiac.

            Chinese Zodiac and Cultural Tropes in Plaintiff's Work.' Plaintiff's screenplay, which I

     have reviewed, reflects many of the concepts described above and shares features with other

     works that draw on the Chinese zodiac for inspiration. For example, his screenplay features two

     teams of twelve superhero characters, each with powers derived from azodiac animal, that are

     formed on acyclical basis. This reflects the basic characteristics of the Chinese zodiac,

     including the idea of twelve zodiac animals, the cyclical nature of the zodiac, and the notion that

     one's zodiac animal confers certain personal characteristics in the real world. Additionally,




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     Plaintiff's characters have particular powers and character traits that are consistent with

     traditional Chinese and Chinese-American understandings of each zodiac animal.

               Plaintiff's screenplay also draws heavily on other tropes about China that appear in

     Western film and literature. For example, Plaintiff's screenplay features asupernatural battle

     between order and chaos waged by two otherworldly beings. This reflects the jianghu, aconcept

     from kung fu literature of aliminal space inhabited by martial artists and other superpowered

     beings, who engage in epic battles between good/stability and evil/chaos. Plaintiff's screenplay

     also incorporates, if imperfectly, the well-known Chinese yin/yang concept, which signifies the

     need for balance between complementary qualities (such as order and chaos).

     IV.       History of the Chinese Zodiac

               The Chinese zodiac is derived from ancient Chinese astrology. Although the early


     history of the Chinese zodiac is difficult to trace, it is clear that, as early as the Warring States

     Period over 2,500 years ago (475-221 BCE), Chinese philosophers were developing the core

     astrological concepts that gave rise to the modern Chinese zodiac.' For example, the concept of


     atwelve-year cycle, derived from the apparent length of Jupiter's orbit, emerged during this

     period. 2 Around the same time, Chinese philosophers began to divide the physical world into the

     Five Phases: Fire, Water, Earth, Metal, and Wood. 3 Chinese philosophers also divided the

     heavens into four palaces (quadrants), one for each cardinal direction, and linked animals and

     colors to each palace: the Blue-Green Dragon of the East Palace, the Vermilion Bird of the South




      Endymion Porter Wilkinson, Chinese History: A New Manual 548-50, Harvard University Asia
     Center for the Harvard-Yenching Institute (5th ed. 2018).

     2 Id.   at 550, 568.

      Id. at 515, 546, 570.

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     Palace, the White Tiger of the Western Palace, and the Snake Coiled around aTortoise of the

     Northern Palace. 4


               These methods of describing the natural world were used in ritual and governmental

     activities during this period. 5 For example, as early as the third century BCE, new imperial

     dynasties would reinforce the legitimacy of their rule by identifying themselves with one of the

     Five Phases; the new phase was portrayed as replacing the phase associated with the previous

     dynasty. 6 Similarly, ancient Chinese scholars often used the concept of the Five Phases to

     explain how great cultural heroes achieved success. 7

               Over centuries, these astrological concepts permeated Chinese popular culture and

     evolved into afolk system for marking the passage of time. 8 The base unit of this system was a

     twelve-year cycle, with animal avatars assigned to each year: Rat, Ox, Tiger, Rabbit, Dragon,


     Snake, Horse, Goat, Monkey, Rooster, Dog, and Pig. 9 Five cycles were combined into alarger

     sixty-year cycle based on the Five Phases, such that each year in the sixty-year cycle had a

     unique signifier (e.g., Fire Rooster, Water Tiger). 10 This system, called the ganzhi or "stems and

     branches" system, allowed people to track events over asixty-year period. The ganzhi system




      Id. at 546.

      See Brian E. McKnight, Law and Order in Sung China 455-57, Cambridge University Press
     (1992).

    6 Wilkinson, supra note    1, at 7.

     'Id.   at 747.

    8Id.    at 567-69, 593.

      Id. at 570.

    10 See Benebell Wen, The Tao of Craft: Fu Talismans and Casting Sigils in the Eastern Esoteric
    Tradition 18 1, North Atlantic Books (2016).


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     and the accompanying zodiac signs ultimately spread widely and became acommon and popular

     method of referencing time in China. 1'

              These concepts, including the sixty-year ganzhi system, were used for purposes of

     predicting the fate of individuals as early as the Three Kingdoms period (221-265 CE). '
                                                                                            2 By the



     tenth century, printed calendars were publicly distributed and were widely used to select

     auspicious dates for personal activities. 13 These astrological systems remained in use over the

     centuries and developed horoscope-like functions, influenced in part by the growing awareness

     in China of Indian and Western astrological practices. 14

     V.       Standard Features of the Modern Chinese Zodiac

              The Chinese zodiac remains afeature of modern Chinese culture today. In this section, I

     discuss characteristics that consistently appear in modern Chinese representations of the Chinese

     zodiac or that are associated with the twelve zodiac animals.

              A.        Structure of the Chinese Zodiac

              Today, the Chinese zodiac continues to consist of twelve zodiac animals, each occupying

     ayear before giving over to the next animal at Lunar New Year. 15 The Chinese zodiac is still

     regarded as cyclical, with atwelve-year cycle that repeats five times, each time under the




     " Wilkinson, supra note     1, at 548-49.
     12   Shigeru Nakayama, Characteristics of Chinese Astrology, 57:4 Isis 448-49 (1966).

     '
     3 1d. at 449.


      14 See id.   at 450-54.

     ' See, e.g., The Chinese Zodiac: Which Animal Are You?, China Daily (Feb. 2, 2016),

     https://www.chinadaily.com.cn/culture/20 16-02/02/content_23356709.html.

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     auspices of one of the five phases of the physical world (wood, water, earth, metal, and fire), to

     create asixty-year cycle. That sixty-year cycle then repeats perpetually. 16

              B.      The Chinese Zodiac as Horoscope

               In Chinese and Chinese-American popular culture today, the Chinese zodiac functions as

     ahoroscope, with each animal serving as an astrological sign based on birth year. 17 As with

     horoscopes based on the Western zodiac, horoscopes based on the Chinese zodiac make the

     claim that one's zodiac sign contributes to one's real-world character traits or marriage

     prospects. As the Chinese government newspaper China Daily has explained on its English-

     language webs ite, "[d]ifferent people born under each zodiac sign are believed to have different

     personalities that represent animals of the year," and "people consult with their zodiac signs for

     compatibility before getting married." 8 Because horoscopes are an informal, popular-culture

     product, there is little consistency to the traits that horoscope authors associate with each animal

     of the Chinese zodiac.

              The following chart provides examples from both Chinese and American sources of

     modern English-language horoscopes based on the Chinese zodiac:




     16 Theodora Lau & Laura Lau,     The Handbook of Chinese Horoscopes: 40th Anniversary Edition
     xx-xxv, North Atlantic Books (2019).

     17 See   The Chinese Zodiac: Which Animal Are You?, supra note 15.

     18 See The Chinese Zodiac: Which Animal Are You?, supra note 15; see also Sabrina Liao,

     Chinese Astrology: Ancient Secrets for Modern Life (2000); Marriage Compatibility by Bazi,
     Marriage Bazi Matching and Analysis, Your Chinese Astrology,
     https ://www.yourchineseastrology.com/calendar/bazi/marriage-compatibi lity/ (last visited Mar.
     28, 2023); Karin Taylor Wu, Calculating the BaZi: The GanZhi/Chinese Astrology Workbook 18
     (2017); Find Out Which Chinese Zodiac Sign You're Most Compatible With, Women's Health
     (Feb. 23, 2023), https ://www.womenshealthmag.com/sex-and-love/a39 194473/chinese-zodiac-
     compatibility/.

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       Animal       China Daily Horoscope          Restaurant Placemat            Astrology corn
                    [China] 19                     Horoscope [Cincinnati          Horoscope [United
                                                   metropolitan area,             States] 21
                                                   United States] 2°
       Rat          Intelligent, adaptable,        Ambitious, honest, prone       Wise, unique, intelligent,
                    quick-witted, charming,        to spending freely, with       crafty, determined,
                    artistic, sociable             few lasting friendships        inventive, intense,
                                                                                  acquisitive, ruthless,
                                                                                  nervous
       Ox           Loyal, reliable, thorough,     Bright, patient, inspiring     Honest, contemplative,
                    strong, reasonable, steady,    to others, outstanding         observant, determined,
                    determined                     parent                         cautious, loyal, self-
                                                                                  righteous, stubborn, petty,
                                                                                  egotistical, judgmental,
                                                                                  overly cautious
       Tiger        Enthusiastic, courageous,      Aggressive, courageous,        Outspoken, adventurous,
                    ambitious, leadership,         candid, sensitive              unconventional,
                    confidence, charismatic                                       enthusiastic, aggressive,
                                                                                  arrogant, short-tempered,
                                                                                  anxious
       Rabbit       Trustworthy, empathic,         Lucky, talented, articulate,   Intuitive, even-tempered,
                    modest, diplomatic, sincere,   affectionate, shy, peaceful    gentle, faithful,
                    sociable, caretakers                                          compassionate, clever,
                                                                                  pessimistic, insecure, vain,
                                                                                  overly cautious, finicky
       Dragon       Lucky, flexible, eccentric,    Eccentric, passionate,         Courageous, intelligent,
                    imaginative, artistic,         healthy                        charismatic, passionate,
                    spiritual, charismatic                                        impetuous, inflexible,
                                                                                  brash
       Snake        Philosophical, organized,      Wise, intense, beautiful,      Wise, enigmatic, intuitive,
                    intelligent, intuitive,        vain, has atemper              sympathetic, mesmerizing,
                    elegant, attentive, decisive                                  sensual, beautiful,
                                                                                  hedonistic, vain,
                                                                                  malicious, overly
                                                                                  materialistic, duplicitous
       Horse        Adaptable, loyal,              Popular, attractive to the     Virile, easygoing, witty,
                    courageous, ambitious,         opposite sex, ostentatious,    honest, outspoken,
                    intelligent, adventurous,      impatient                      impatient, impulsive, self-
                    strong                                                        centered



      19   The Chinese Zodiac: Which Animal Are You?, supra note 15.

      20 ANTOO 1290.

      21   Chinese Zodiac, Astrology.com, https://www.astrology.com/chinese-zodiac (last visited Apr.
      7, 2023).

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       Animal       China Daily Horoscope           Restaurant Placemat              Astrology corn
                    [China] 19                      Horoscope [Cincinnati            Horoscope [United
                                                    metropolitan area,               States] 21
                                                    United States] 2°
       Sheep        Tasteful, crafty, warm,         Elegant, creative, timid,        Intelligent, romantic,
                    elegant, charming, intuitive,   prefers anonymity                charming, compassionate,
                    sensitive, calm                                                  gentle, disorganized, lazy,
                                                                                     pessimistic, timid,
                                                                                     indecisive, anxious,
                                                                                     gullible
       Monkey       Quick-witted, charming,         Intelligent, influential to      Confident, charming,
                    lucky, adaptable, bright,       others, achiever, easily         humorous, exuberant,
                    versatile, lively, smart        discouraged and confused         popular, distrustful,
                                                                                     arrogant, opportunistic,
                                                                                     erratic, manipulative,
                                                                                     dishonest
       Rooster      Honest, energetic,              Pioneering spirit, devoted       Charming, witty, honest,
                    intelligent, flamboyant,        to work and knowledge,           blunt, capable, talented,
                    flexible, diverse, confident    selfish, eccentric               brave, self-reliant,
                                                                                     controlling, insensitive,
                                                                                     narrow-minded, selfish,
                                                                                     reckless
       Dog          Loyal, sociable,                Loyal, honest, generous,         Animated, likable, witty,
                    courageous, diligent,           stubborn, selfish            -   sincere, cooperative,
                    steady, lively, adaptable,                                       protective, helpful,
                    smart                                                            pessimistic, cynical,
                                                                                     paranoid, overly
                                                                                     aggressive, stubborn
       Pig          Honorable, philanthropic,       Noble, chivalrous, with          Intelligent, thoughtful,
                    determined, optimistic,         lifelong friends, prone to       creative, responsible,
                    sincere, sociable               mental strife                    curious, noble, gullible,
                                                                                     materialistic, insecure,
                                                                                     hot-tempered



               C.      Chinese and Chinese-American Associations with Animals Featured in
                       Chinese Zodiac

               Just as, in American culture, we might say someone is as "quiet as amouse," the twelve

      animals featured in the Chinese zodiac have come to be associated with particular characteristics

      in the Chinese and Chinese-American traditions. Some widely recognized characteristics are

      discussed below.




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               Rat: Chinese folkloric tales about the origins of the zodiac, memorialized in English

      language works from at least 1995, characterize the rat as atrickster and untrustworthy, 22 In one

      common version of the story, several animals took part in arace. The rat betrayed the cat by not

     waking the cat up to participate. The rat then won the race by tricking the ox to carry him across

     ariver, while the cat slept through the entire race and missed out on the chance to become a

     zodiac animal. 23 Reflecting the same perception, an idiom dating from at least the Han Dynasty


     (approximately 202 BCE to 220 CE) characterizes the rat as untrustworthy:                  meaning


     "a petty thief like arat or dog." Similarly, The Tiger's Apprentice, a2003 book by aChinese-

     American author, draws on Chinese mythology and features arat character who is initially

     portrayed as sly and backstabbing. 24

               Ox: In Chinese culture the ox is often regarded as strong and diligent, but not very

     intelligent. These traits are apparent in the story of the zodiac race recounted above, in which the

     rat relied on the ox's strength and diligence (and lack of common sense) to win the race.


     Additionally, acommon Chinese insult, Z           means to be as dumb as an ox. Another old idiom,


       L1II1L), dates from at least the Yuan Dynasty (1271-1368 CE) and means "to have the


     force of nine oxen and two tigers"—a reflection of the traditional Chinese cultural association

     between oxen and strength. 25



     22 Ed Young,    Cat and Rat: The Legend of the Chinese Zodiac (1995).

     23 There are numerous similar stories portraying the Rat as treacherous.    See, e.g., Behind the
     Chinese Zodiac: The Rat and the Cat, The Royal Mint,
     https://www.royalmint.com/stories/celebrate/the-story-of-the-animals-behind-the-chinese-
     zodiac-the-rat-and-the-cat/ (last visited Feb. 12, 2023); Natsuki Takaya, 1Fruits Basket 13
     (2016).

     24 Laurence Yep,    The Tiger's Apprentice 34-37 (2021 ed .
                                                               ).

     25 Hanyu Da Cidian, Hanyu Da Cidian Chubanshe (1993, with Supplement 2010 reprint),

     available on Pleco Chinese Dictionary application.

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              Tiger: Chinese tradition also associates tigers with power and strength. In The Water

     Margin, atext at least as old as the mid-1500s that is regarded as one of the so-called Four Great

     Works of Chinese Fiction, the hero Wu Song displays his superhuman strength by killing a

     vicious man-eating tiger bare-handed at the Jingyang Ridge. In the story, the tiger is anearly

     supernatural threat, which can only be overcome by aperson with incredible abilities. 26

              Dragon: The dragon is aparticularly important figure in Chinese culture. Traditionally,

     the five-clawed dragon is seen as an emblem of power and dominance, representing the emperor

     and masculine prowess. This is most notably seen in imperial court robes, which bore elaborate

     dragon designs. 27 The Han Dynasty historian Sima Qian records that the birth of the first

     emperor of the Han Dynasty was portended by adragon appearing before his mother. The

     emperor was said to have adragon-like face and seventy-two (a very lucky number) moles on his

     thigh. It was also said that when he passed out from drinking at the inn, the serving women

     would see an image of adragon floating over him. 28 The connection between the Chinese

     emperor and the dragon existed from ancient times and grew stronger over the centuries. 29

              Additionally, in modern kung fu cinema, kung fu masters—including Jackie Chan and

     Bruce Lee—associate themselves with dragons, going so far as to include the Chinese character


     for "dragon" in their stage names (hi    and          respectively). In the classic kung fu films


     Enter the Dragon and The Way of the Dragon, the titular dragon is Bruce Lee.




     26   Shi Nai'an, The Water Margin. Outlaws of the Marsh 262-73 (2010).

     27 See Imperial Dragon, American Museum of Natural History,
     https ://www.amnh.org/exhibitions/mythiccreatures/dragons/imperial-dragOn (last visited Feb.
      12, 2023).
     28   Qian Sima, Records of the Grand Historian: Han Dynasty 151 (2d ed. 1993).

     29 Keith J.   Wilson, Powerful Form and Potent Symbol: The Dragon in Asia, 77:8 The Bulletin of
     the Cleveland Museum of Art 286-323 (1990).

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                Snake: Chinese tradition often associates snakes with evil. For example, aMing


     Dynasty idiom,                  can be translated as "dragons and snakes mingled together," meaning


     that good people (dragons) and bad people (snakes) appear in the same place. Chinese literature

     also sometimes characterizes snakes as demons. A famous story in The Record of the Listener,

     dating from the Song Dynasty (960-1279 CE), involves an emperor commanding aDaoist to go

     to the imperial border to destroy anest of local demon snakes, which represent local resistance to

     the empire. 30

                Horse: In Chinese tradition, horses are commonly celebrated for their strength and

     endurance. Most famously, the horse Red Hare, depicted in the classic 14 th -
                                                                                 century novel,

     Romance of the Three Kingdoms, was so strong and untiring that it was traded multiple times in

     political negotiations. 31 Similarly, the mythical Qianli Ma, or the "Thousand Li Horse," was

     said to be too fast to be tamed and capable of galloping one thousand Ii per day (about 310

     miles). 32 Another horse famed for its endurance and strength was the "Blood-Sweating Horse,"

     said to be from Central Asia. 33 These horses became so famous that they appear as mounts in

     one of the most popular recent kung fu novels, as near-mythical beasts fit to carry amythical

     hero. 34




     30 Hong Mai, Record of the Listener: Selections of Chinese Supernatural Stories     159-62 (Alister
     D. Inglis tr., 1st ed. 2013).

       'Luo Guanzhong, The Romance of the Three Kingdoms 42-3 (Martin Palmer tr. 2018)

      (describing Red Hare as "tearing [and] lunging" so quickly that "a duststorm starts").

     32 Theresa Bane, Encyclopedia of Beasts and Monsters in Myth,       Legend and Folklore 267
      (2016).

      " Luo Guanzhong,      Three Kingdoms:A Historical Novel 42-43 (1994).

     34 Jin Yong, A Hero Born:       The Definitive Edition 260-64 (Anna Holmwood tr. 2019).

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               Monkey: Monkeys have aspecial place in Chinese folklore, thanks to the famous

     Monkey King, Sun Wukong. This character is aprotagonist in another of the Four Great Works

     of Chinese Fiction, The Journey to the West. The Monkey King is agile and fearsome, and only

     the Buddha himself is capable of containing and focusing his energy. 35 This understanding of

     monkeys appears throughout Chinese culture. For example, apoem in the Classic of Poetry, an

     ancient collection of Chinese poetry dating from the 11th7th century BCE, includes the line "Do

     not teach amonkey to climb trees" 36_a reference to the monkey's natural agility and climbing

     skill. The classic Daoist text The Zhuangzi repeatedly highlights the agility of monkeys. 37

     "Monkey-style kung fu" is also apopular form of martial arts that is said to mimic the cleverness

     and agility of the monkey. 38

               Rooster: In Chinese folklore, the rooster's crow is celebrated as apowerful weapon to

     dispel ghosts. As in many cultures, in China the rooster's crow symbolizes the coming of the

     dawn and fighting back against the darkness that is symbolized by the spectral dead. The


     Liaozhai Zhiyi, afamed Qing Dynasty collection of strange tales, contains the succinct line: Y-


     ft,               or "The rooster crowed, and the ghost fled." 39




     35 Cheng'en Wu, The Journey to the          West (Anthony Yu tr. 2012).

     36 Book of Poetry, Jiao Gong      -   Chinese Text Project, https://ctext.org/book-of-poetry/jiao-gong
     (last visited Mar. 28, 2023).

          Tzu Chuang, Wandering on the Way: Early Taoist Tales and Parables of Chuang Tzu 68, 109,
     194 (2000) (including, for example, aparable describing amonkey as "grasp[ing] the branches
     with its hands and feet or wrap[ping] around them with its tail, moving nimbly among them").

     38        -   ID'iPff f4, https://baike.sogou.com/v464647.htm (last visited Mar. 28, 2023).
     11 4Op_A-J-_ E•— /M 08    -




     https://zh.wikisource.org/wiki/%E8%8 I%8A%E9%BD%8B%E5%BF%97%E7%95%BO/%E7%
     AC%ACO8%E5%8D%B7 (last visited Feb. 12, 2023).

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              Pig: The most famous pig in Chinese mythology comes from The Journey to the West.

      In that story, he is originally the Water God of Heavenly Reeds, aformidable warrior who

      commands the heavenly navy. He is later punished and sent to live on Earth as apig; there, he

      engages in combat against the Monkey King. 40

      VI.     The Chinese Zodiac in Modern Times

              The Chinese zodiac continues to exist, in much the same form, in modern China. In the

      last century, it has also become afamiliar concept in the United States. Idiscuss below the

      spread of Chinese culture within the United States, the introduction of the Chinese zodiac into

      American popular culture, and the extensive body of literature, film, and television that

      incorporates the Chinese zodiac.

              A.     The Spread of Chinese Culture in the United States

              Starting in the mid-1800s, small numbers of immigrants from China moved to the

      western areas of the United States to provide manual labor. 41 Over 100,000 people of Chinese

      descent lived in the United States by the late 1800s. 42 After legal restrictions on immigration to

     the United States were lifted in the second half of the twentieth century, and as China

     experienced political upheaval, the number of Chinese Americans grew significantly. 43

              These immigrants introduced features of Chinese culture and folklore into the United

     States. Additionally, after World War II, GIs who had been stationed in East Asia brought back




      ° Wu, supra note 35, at 380-82.


     41 Robert Barde, The Bancroft Library: Chinese Immigration to the United States A Digital
                                                                                          -




     Archive, https://bancroft.berkeley.edu/collections/chinese-immigration-to-the-united-states- 1884-
     1944/about.html (last visited Jan. 29, 2023).
     42 Id.


        Id.


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      awareness of local cultures, including Chinese culture, to the United States. 44 Moreover, driven

      by Cold War considerations, the United States government and popular media broadcast stories

      about Chinese Americans to broader American audiences. 45

              In the 1970s, Bruce Lee—a Chinese American born in San Francisco—popularized his

      brand of kung fu within the United States. Bruce Lee's 1973 martial arts movie Enter the

      Dragon was one of the most profitable movies ever made in the United States, and was in part

      responsible for bringing martial arts films and other films with elements of Chinese culture into

      mainstream American culture. 46

              Chinese restaurants also drove familiarity with Chinese culture within the United States.

      As early as the late 1840s, Chinese people were operating restaurants within the country. 47 In

      the early twentieth century, Chinese cuisine in San Francisco—where amajor share of the

      Chinese population lived at the time—began to attract tourist attention. Pamphlets published by

      the city in the 1950s featured Chinatown's restaurants as an enticement to tourists. By 1960,


      there were around six thousand Chinese restaurants in the United States. Restaurant owners

      discovered that an Americanized version of Chinese food was in great demand, and soon canned




      "See Bill Hume and John Annarino, When We Get Back Home From Japan (1953), available at
      http://archive.org/details/when-we-get-back-home-from-japan (last visited Apr. 16, 2023).

      '   See Ellen D. Wu, "America's Chinese   ".   Anti-Communism, Citizenship, and Cultural
      Diplomacy during the Cold War, 77:3 Pacific Historical Review 391-422 (2008), available at
      https://doi.org/10.1525/phr.2008.77.3.391.

      46 Clay Risen, Bob   Wall, Martial Arts Master Who Sparred With Bruce Lee, Dies at 82, The New
      York Times (Feb. 11, 2022), https://www.nytimes.com/2022/02/1 1/us/bob-wall-dead.html.

      47 Erica J. Peters, A Path to Acceptance: Promoting Chinese Restaurants in San Francisco,

      1849-1919, 97:1 Southern California Quarterly 5-28 (2015), available at
      https://doi.org/10.1525/scq.2015.97. 1.5.

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      and frozen versions of Chinese food appeared in local grocery stores. 48 Liberalized American

      immigration rules led to continued growth, and by 2016 the United States had over 45,000

      Chinese restaurants—more than the number of McDonald's, KFC, Pizza Hut, Taco Bell, and

      Wendy's restaurants combined. 49

             B.       The Chinese Zodiac in the United States

             With the spread of Chinese culture within the United States, the Chinese zodiac has

      become afamiliar part of American popular culture. People in the United States, even those with

      little knowledge of Chinese culture, regularly encounter the Chinese zodiac in daily life. As one

      writer and museum curator put it, "the Chinese zodiac has been acommon cultural symbol

      among non-Chinese in the U.S. for many years." 50

             By the late 1960s, there is evidence of the Chinese zodiac appearing on placemats in

      Chinese restaurants around the country in much the same form as one would find it today. 51


      Books, articles, and think-pieces describe the Chinese zodiac placemat as acultural touchstone:

      "Regardless of whether you have any Chinese heritage or cultural connections, if you've ever

      eaten at aChinese-American restaurant, you probably remember something about what your

      birth year means within the Chinese zodiac." 52 Indeed, the placemat has such an important place



      48 Laresh Jayasanker, Chinese and Indian Restaurants in the San Francisco Bay Area since the

      1960s, 94:4 California History 23-44 (2017).

        A Very Brief History of Chinese Food in America, Time (Feb. 8, 2016),
      https://time.com/421187I/chinese-food-history/.

      50 Jaya Saxena, Where Did the All-Too-Familiar Chinese Zodiac Placemat Come From?, Eater
      (June 18, 2019), https://www. eater. com/2 019/6/18/9347323/chinese-zodiac-paper-placemats-
      chinese-american-restaurants (quoting Kian Lam Kho).
      51 See Takeout Astrology. The Zodiac Placemat, Duck Pie (Feb. 5, 2014),

      https://duckpie.com/2014/02/04/210/ (discussing history of supplier of placemats to Chinese
      restaurants).
      52 See Saxena, supra note 50; see also Vito Signorile, Reflections on aChinese Placemat:   The
      Rational and the Real in Visual Structure, 8Visual Sociology 52 (1993) ("In aChinese

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      in American cultural memory that it has become the focus of nostalgic humor, including a

      "Jewish Zodiac Placemat" that replaces the zodiac animals with Jewish-American food items, 53

      and aparody version that filters the Chinese zodiac through the lens of21s t century hipsters." 54

      In akey scene in the second episode of the popular cartoon Jackie Chan Adventures, which aired

      in 2000, acharacter used aChinese zodiac restaurant placemat to explain acentral premise of the

      show—the existence of magical talismans associated with the animals of the Chinese zodiac 55 :




     restaurant Ifrequent, one of the pastimes available to customers waiting for their order is to read
     the placemat" which "described and explained the Chinese calendar" and "gave what amounts to
     aChinese version of the horoscope."); Sharon Fiffer, Life According to aPaper Placemat,
     Chicago Tribune (Jan. 31, 2014), https://www.chicagotribune.com/opinion/ct-xpm-2014-01-3 I-
     ct-perspec-0 131-chinese-20 14013 I-story.html (reminiscing about 1987 visit to Chinese
     restaurant with "paper place mat" bearing "[t]he signs of the Chinese zodiac"); Sabrina Liao,
     Chinese Astrology: Ancient Secrets for Modern Life 1-2 (2000) (describing how author's
     astrological career "all started with apaper place mat from aChinese restaurant" displaying the
     Chinese zodiac).

       See Jewish Zodiac Placemat, Haggadahs-R-Us, https:Hhaggadahsrus.com/product/jewish-
     zodiac-placemat/ (last visited Feb. 2, 2023).

      '21st-Century Zodiac Placemat, San Diego Reader,

     https ://www.sandiegoreader.com/news/20 19/dec/2 5/h ip ster-2 1st-century-zodiac-placemat/ (last
     visited Feb. 2, 2023).

      55 Jackie Chan Adventures, season   1, ep. 2(dir. Phil Weinstein & Frank Squillace, 2000).

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             In Chinese language and culture classes, and in education more broadly, the Chinese

      zodiac and associated concepts like the Lunar New Year are often used as ahook to introduce

      students to Chinese culture. Indeed, the second chapter in the Chinese language text that I've

      used for several years in teaching college courses includes substantial discussion of the Chinese

      zodiac. 16 In my experience, students are rarely ignorant of the Chinese zodiac when the topic


      arises in class. In fact, many already know their Chinese zodiac sign before coming to class.

             Outside of the education context, Americans regularly encounter the Chinese zodiac in

     the annual Lunar New Year celebrations that take place across the United States. The Lunar

     New Year marks the transition between years of the Chinese zodiac. For example, on January

     22, 2023, the Year of the Tiger ended, and the Year of the Rabbit began. For Americans of

      Chinese, Japanese, Korean, and Vietnamese descent, among others, the Chinese New Year has

     immense cultural significance. Asian-American communities in towns and cities of every size

     often host large parades that are open to the general public.




     56 Cynthia Ning and John S. Montanaro, Encounters.     Global Chinese Language and Culture 41-
     68 (2012).

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                For example, Los Angeles celebrated its 124th annual Lunar New Year parade in 2023,

      while San Francisco's annual parade dates from the 1860s. 57 New York City has had Lunar New

      Year parades since at least 1937.58 Houston has held aparade since 1997. 59 Boston has just

      announced that the Lunar New Year will be considered an official holiday in the city. 60

      Washington College, where 1teach, holds aLunar New Year celebration for the student body

      and local community where people can eat Chinese food, learn how to write Chinese characters,

      and enjoy Chinese music. The Kentucky Chinese American Association has held Lunar New

      Year celebrations since at least 2006.61 The Chinese American Association of Cincinnati has

      held Chinese New Year banquets since at least 2007 .62




      57 SF Chinese New Year Parade Lights up Downtown with Thousands in Attendance, ABC7 San

      Francisco (Feb. 5, 2023), https://abc7news.com/san-francisco-chinese-new-year-parade-lunar-of-
      the-rabbit-celebration/I 2772025/.

      58The History of Lunar New Year and Where to Celebrate the Holiday in New York City in 2023,
      Brown Harris Stevens (Jan. 23, 2023), https://www.blog.bhsusa.com/post/the-history-of-lunar-
      new-year-and-how-it-is-celebrated-in-nyc; Marshall Sprague, Chinatown Plans Fete, The New
      York Times (Jan. 31, 1937).

        Texas Lunar Fest, Texas Lunar Festival, http://www.texaslunarfest.net/home.html (last visited
      Mar. 15, 2023).

      60 Boston Designates Lunar New    Year as an Official City Holiday, WBUR,
      https ://www.wbur.org/news/2023/02/22/lunar-new-year-boston-des ignated-holiday (last visited
      Mar. 15, 2023).
     61    2006-01-2] Chinese New Year Celebration, Kentucky Chinese American Association,
      https://www.kycaa.org/PhotoGallery.html (last visited Feb. 12, 2023).

     62 Events, Chinese American Association of Cincinnati, http://caacohio.org/events/ (last visited

      Feb. 12, 2023).

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             Just this year, the White House held aLunar New Year celebration, 63 as did the

     Metropolitan Museum of Art. 61 Vogue featured azodiac-themed fashion spread .
                                                                                 6' The



     NASDAQ held aspecial opening-bell ceremony with the Chinese Consulate General in New

     York City. 66 McDonald's created an entire augmented reality and virtual reality experience

     centering on the Year of the Rabbit. 67

             When the Cincinnati Bengals made it to the Superbowl in 2022—the Year of the Tiger—

     Cincinnati's Skyline Chili featured "Year of the Tiger" branding on its cups, 68 and news

     coverage emphasized the connection between the team and the Zodiac animal. 69 In 2023, the

     Seattle Kraken and Brooklyn Nets (and international teams like the Vancouver Canucks and

     Manchester City, F.C.) all released uniforms and other merchandise featuring the Lunar New




     63 Biden Holds White House's First-Ever Lunar New Year Reception, in Mass Shootings'

     Shadow, ABC News (Jan. 26, 2023), https://abcnews.go.com/Politics/biden-holds-white-houses-
     lunar-new-year-reception/story?id=96700563.

     64 Lunar New Year Festival:  The Year of the Rabbit, The Metropolitan Museum of Art,
     https ://www.metmuseum.org/events/programs/met-celebrates/festivals-and-special-
     programs/lunar-new-year-festival-the-year-of-the-rabbit (last visited Feb. 12, 2023).

     65 Ring in the New! Fun, Festive Fashion to Celebrate the Lunar New Year, Vogue (Jan.
                                                                                      19,
     2023), https ://www.vogue.com/article/lunarnewyearfashion-cai-guo-qiangWinter2O23.

     66 Nasdaq Celebrates Chinese New     Year with In-Person Opening Bell, China Global Television
      (Jan. 26, 2023), https://news.cgtn.com/news/2023-0 1-26/Nasdaq-celebrates-Chinese-New-Year-
     with-in-person-opening-bell-I gUxCY2XoMU/index.html.

      67 Hop Into the Year of the Rabbit with Karen XCheng, McDonald's,
      https ://www .
                   mc dona ld s.c om/us/enus/asianpacificamericans/en/cOmmunity.html (last visited

      Feb. 2, 2023).

      68 BV-00015642; BV-00015643.

      69  's the Year of the Tiger: Bengals Historic Season Coincides with Chinese New Year
      Celebration, WLWT (Jan. 27, 2022), https ://www.wlwt.com/article/its-the-year-of-the-tiger-
                                                                             8894556.


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      Year Rabbit. 70 The sporting equipment company Wilson launched an official NBA Lunar New

      Year Rabbit Basketball. 71


              In short, people who live in the United States are regularly exposed to the Chinese zodiac

      in daily life.

              C.       The Chinese Zodiac in Literature, Film, and Other Creative Works

              Given the Chinese zodiac's ubiquity within the United States, it has been featured for

     decades in popular works, including comic books, movies, television shows, and books. These

     works include stories in which the Chinese zodiac is associated with supernatural powers or

     superhero figures.

                       1.    The Chinese Zodiac Is Commonly Depicted as Associated with or
                             Capable of Conferring Supernatural Powers

              Popular works have imagined the animals of the Chinese zodiac as associated with

     supernatural powers, which are then transferred to or harnessed by people. Many stories feature

     people transforming into zodiac animals or taking on powers associated with zodiac animals.

     Several of these stories involve heroes or superheroes engaged in the battle of good versus evil.




     70 Kraken Celebrate Lunar New     Year with Warm-up Jerseys Designed by Local Artist, Seattle
     Refined (Jan. 21, 2023), http://seattlerefined.com/lifestyle/kraken-celebrates-lunar-new-year-
     with-special-warm-up-i erseys-designed-by-local-artist; Brooklyn Nets to Host Chinese New Year
     Celebration Game Presented by        A.      (Wah Yan ChingNin), NBA (Jan. 24, 2023),
     https ://www.nba.com/nets/news/brooklyn-nets-to-host-chinese-new-year-celebration-game-
     presented-by-wah-yan-ching-nin; Canucks Unveil New Lunar New Year Jersey They'll Wear
     Next Week, Offside (Jan. 20, 2023), https:/!dailyhive.com/vancouver/canucks-lunar-new-year-
     jersey-2023-rabbit; Manchester City Celebrate the Year of the Rabbit With Limited-Edition
     Jersey Capsule, Hypebeast (Jan. 10, 2023), https ://hypebeast.com/2023/I/manchester-city-year-
     of-the-rabbit-limited-edition-puma-jersey.

      ' Chinese New Year 2023 Year of Rabbit Basketball     - Limited Edition, Basketball Jersey World,
     https ://www.basketbal lj erseyworid .com/products/chinese-new-year-2023 -year-of-rabbit-
     basketball-limited-edition (last visited Jan. 29, 2023).

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               The Tiger's Apprentice, published in 2003 by Laurence Yeh, is illustrative. This book,

     the first in aseries, tells the story of an Asian-American teenaged boy who teams up with

     powerful creatures from the Chinese zodiac and other Chinese folklore on aglobe-trotting

     adventure to defeat ateam of adult bad guys who are using their powers for evil. 72 The book is

     currently being adapted into amajor motion picture slated for release in 2023; the film will

     feature a"Chinese American boy [who] discovers that he is part of along lineage of magical

     protectors known as the Guardians" and that, "in order to have afighting chance against the evil

     forces that threaten the world, he must first bring the estranged Zodiac animal warriors back

     together as aunified team." 73 The film's official title sequence—launched on Chinese New Year

     in 2022—features avisual representation of the Chinese zodiac 74 :




      72 Yep, supra note 24.


      73   The Tiger's Apprentice, IMDB, https://www.imdb.com/title/tt5834410/?ref_ttPl_ov (last
      visited Apr. 7, 2023).

      ' The Tiger's Apprentice (2023 Movie I
                                           Title), IMDB (Feb. 1, 2022),
      https://www.youtube.com/watch?v=4Bdz6LJoPLI.

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             Similarly, no less afigure than Jackie Chan developed aseries of cartoons (running

      September 9, 2000 to July 8, 2005), video games, and books collectively called the Jackie Chan

     Adventures. These works depict the search by Jackie and his team for powerful talismans

     associated with the twelve Chinese zodiac signs 75 :




     Each talisman conveys apower that can be used by the wearer, as listed below. 76




     75Twelve Talismans, Jackie Chan Adventures Wiki,
     https://jackiechanadventures.fandom.com/wiki/Twelve_Talismans (last visited Apr. 18, 2023)
     (reproducing talismans from cartoon series).

     76 Jackie Chan Adventures (dir. Phil Weinstein & Frank Squillace, 2000-2005).



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          Zodiac Animal            Associated Power
          Rat                      Ability to bring inanimate objects to life
          Ox                       Super strength
          Tiger                    Ability to wield multiple talismans and to split into yin and yang versions
                                   of oneself
          Rabbit                   Super speed
          Dragon                   Ability to shoot fire
          Snake                    Invisibility
          Horse                    Healing
          Sheep                Astral projection
          Monkey               Ability to shapeshift into other animals
          Rooster              Telekinesis
          Dog                      Immortality and rejuvenation
          Pig                  Thermal vision, allowing the holder to shoot fire beams from his eyes, to
                               see invisible objects, and to see in the dark



                  The Japanese manga Fruits Basket, by Natsuki Takaya, involves afamily that is

     possessed by the animals of the Chinese zodiac and cursed to morph into animal forms during

     challenging situations. 77 That series—which began in 1998—was aNew York Times bestseller,

     is considered one of the best-selling manga series of all time, and was adapted into two films and

     atelevision show. 78

                  Z-Force Zodiac Force, acartoon series that was in development by 2006,         was intended

     to feature "12 young guys" whose "worlds are suddenly changed forever when they're chosen to

     carry on the heroic legacy of the ZForce Power Animal champions from ancient ages." 8° The

     chosen teenagers gain the ability to transform into Chinese zodiac-powered superheroes 81 :




     " See 13V-0001 1712; Takaya, supra note 23.


     78 See id.     Another work, Little Eyes, involves mechanical pets modeled on the animals of the
     Chinese zodiac that are capable of surveillance. See BV-00011791.
     79 See BV-00014292.


     80 Ramin Zahed, Get Readyfor Chinese ZodiacAction!, Animation Magazine (Nov. 2, 2010),

     https://www.animationmagazine.net/201 0/1 1/get-ready-for-chinese-zodiac-action/.

     81   Z-Force Episode 1    -     "United We Stand" (2009), available at https://vimeo.com/6664421.

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               The 2015 Chinese Zodiac Romance series, by bestselling author Rachel Slate, is another

     example of this genre. It features characters that shift into Chinese zodiac animals for purposes

     of saving the world from evil. 82 The ad copy for the first book reads:

                      He's aTiger. She's aRabbit. She'll entrance him. He'll devour her.

                      After the Red Death devastates the world, Lucy Yeoh flees to the tropical safe
                      haven of Malaysia, straight into the arms of Sheng. Who just might be as
                      delusional as he is sexy. Sheng claims only twelve Chosen warriors of the
                      Chinese Zodiac can restore balance to the world and save humanity, and
                      she's one of them: the Rabbit. Long furry ears and fluffy bunny tail included.

                      Li Sheng leads the Chosen, and that means commanding Lucy's Rabbit to submit
                      to his Tiger. Easier said than done when she undermines his authority at every
                      turn, and seduces him to the limits of his darkest desires. But wait until she
                      makes his Tiger roar...

                      Trancing the Tiger introduces ahot new breed of shifters, set in apost-
                      apocalyptic world where Chosen warriors must battle demonic forces—and
                      the desires of their hearts—to restore the balance of yin and yang before
                      humanity is destroyed forever.

                      If you love dirty-talking alpha heroes, tough heroines who challenge them, exotic
                      cultures, and unique twists on mythology, don't miss out on this scorching hot
                      series. 83




     82 Rachael    Slate, Trancing the Tiger (2015), https://www.amazon.com/Trancing-Tiger-Chinese-
     Zodiac-Romance/dp/150851965X (last visited June 7, 2023).

     83 Id.   (emphasis added).

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                     2.      Such Uses of the Chinese Zodiac Are Consistent with the Literary and
                             Film Treatment of Other Asian and Western Mythology

             It is unsurprising that the Chinese zodiac is frequently associated with supernatural

     powers or superheroes in literature and film for several reasons.

             First, the association between zodiac animals and supernatural powers is anatural

     extension of the fact that, as discussed above, the Chinese zodiac commonly functions as a


     horoscope; people imagine themselves as having characteristics that flow directly from their

      association with their assigned zodiac animal. It is asmall step from that concept to stories about

     people taking on azodiac animal's supernatural traits or powers.

             Additionally, Chinese and other Asian folklore has long been used as the basis for such

      stories. The Monkey King has spawned legions of books, movies, and games that imagine the

      Monkey King as amodern-day superhero. The Journey to the West, the source text for the

      Monkey King, has been adapted and retold in uncountable ways. For example, American Born

      Chinese, a2006 graphic novel by Gene Luen Yang, is acoming-of-age story involving a

      Chinese-American high school boy who encounters the Monkey King and his son and is

      catapulted into aseries of adventures related to his heritage and identity. 84 The Monkey Prince, a

      DC comics series written by Yang and first published in 2011, similarly tells the tale of ayoung

      man who discovers that he is the son of the Monkey King and has related powers. 85 In the Fear

      Itself series of Iron Man comics within the Marvel universe, dating from 2011, the Monkey King




      84 Gene Luen Yang,   The Monkey Prince (2006). The graphic novel has also been adapted as a
      television show. See American Born Chinese, Disney,
      https://ondisneyplus.disney.com/show/american-born-chiflese (last visited June 19, 2023).

      85 Gene Luen Yang, Monkey Prince #1 (Jan. 21, 2022), https://www.dc.com/comics/monkey-

      prince-2022/nionkey-prince-1.

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      has astaff that confers supernatural powers. 86 The blockbuster series of movies beginning with

      2008's Kung Fu Panda includes amonkey character derived from the Monkey King, as well as

      many animals from the Chinese zodiac that occupy heroic roles. 87 The Monkey King also

      appears in many video games as aplayable character with supernatural powers, including DOTA

      2 ,88 Smite, 89 League of Legends, 9° Fortnite, 9'and Black Myth:   Wu Kong, which is scheduled for

      release this year. 92 And perhaps most influential of all, the juggernaut Dragon Ball series, which

      originated in the 1980s, features aprotagonist, based on the Monkey King, who defends the

      Earth against villains with supernatural powers. 93

              This is similar to how other Asian folklore and the Western zodiac have been used as the

     basis for superhero tales. Sanjay's Super Team, an Oscar-nominated Pixar short from 2015,

     presents Hindu gods as superheroes in amodem setting. 94 A short, non-exhaustive list of the

     way Western zodiac signs have been used in superhero literature includes Marvel Comics'




     86 Joshua Hale Fialkov and Juan Doe, Fear Itself       Monkey King #1(2011).

     87 Kung Fu Panda, Dream Works, https://www.dreamworks.com/movies/kung-fu-panda (last

     visited Feb. 12, 2023).

     88 Monkey King, DOTA 2, https://www.dota2.com/hero/monkeyking (last visited Apr.           18, 2023).

     89 Sun   Wukong: The Monkey King, Smite, https://www.smitegame.com/gods/sun-wukong (last
     visited Apr. 18, 2023).

     90   Wukong: The Monkey King,
     https://universe.Ieagueoflegends.com/enUS/champion/monkeyking/ (last visited Apr. 18, 2023).

     91 Save the World IHomebase Status Report, Fortnite (Jan. 24, 2022),
     https://www.fortnite.com/news/save-the-worlds-newest-update-I -24-2022.

     92 Black Myth:   WuKong, IGN, https ://www. ign.com/games/black-myth-wukong (last visited Feb.
     12, 2023).
     93 Akira Toriyama, Dragon Ball Z:     Vol. 1(2003),
     https://www.simonandschuster.com/books/Dragon-Ball-Z-Vol- 1/Akira-Toriyama/Dragon-Ball-
     Z/97815693 19307.
     94 Sanjay's Super Team, Pixar (2015), https://www.pixar.com/sanjays-super-team.



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     Zodiac supervillain team (which debuted in 1970), Darkhorse Comics' Zodiac Starforce series

     (which debuted in 2015), and Disney's Star Darlings property (also from 2015). 95

     VII.       Plaintiff's Screenplay Reflects Common Tropes Related to the Chinese Zodiac and a
                Generic Understanding of Chinese Culture

                Plaintiff's screenplay, which Ihave reviewed, reflects many of the features that Ihave

     discussed above in relation to the history and modem usages of the Chinese zodiac.

     Additionally, it contains many other elements that are not original, but rather reflect Chinese

     tropes or tropes from Western works about China.

                A.     Plaintiff's Screenplay Reflects Common Tropes Related to the Chinese
                       Zodiac and Its Animals

                Plaintiff's screenplay features astraightforward application of the tropes related to the

     Chinese zodiac that Ihave previously discussed. To begin, the screenplay involves two teams of

     twelve characters, which form and reform on acyclical basis over centuries. 96 As Ihave

     explained, the number twelve is fundamental to the Chinese zodiac, as is the idea that the zodiac


     cycles continuously over time. 97

                Additionally, Plaintiff's superhero characters are each associated with an animal of the

      Chinese zodiac. 98 In his Complaint, Plaintiff describes these characters as having certain powers




      95 Zodiac (Cartel) Members,     Enemies, Powers, Marvel Entertainment,
      https://www.marvel.com/teams-and-groups/zodiac-cartel (last visited Feb. 2, 2023); Kevin
      Panetta, Zodiac Starforce #1 (Aug. 26, 2015), https://www.darkhorse.com/Comics/28-
      942/Zodiac-Starforce-1; Star Darlings, Disney, https://books.disney.com/stardarlings/ (last
      visited June 1, 2023).
      96 See,   e.g., John Antony, Zodiac Regiment 12 1, 7, 23 (undated); John Antony, Zodiac Regiment
      12 Character Bios (undated).

       'See supra Part V(A).

      98 See Antony, Zodiac Regiment 12 Character Bios, supra note 96.



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      and character traits. 99 Many of those powers and character traits, as described by Plaintiff, are

      consistent with the traditional Chinese and Chinese-American associations with the animals of

      the Chinese zodiac that Ihave discussed above 100:


       Zodiac            Characteristics in Plaintiffs    Traditional Chinese/Chinese-American
       Animal            Work                             Cultural Associations
       Rat               Traitorous                       A trickster; untrustworthy
       Ox                Extremely strong                 Strong; diligent
       Tiger             Powerful                         Strong; powerful
       Dragon            Powerful; martial artist         Powerful; kung fu/martial arts
       Snake             Evil                             Evil/demonic
       Horse             Extremely strong and fast,       Extremely strong and fast, with great
                         with great endurance             endurance
       Rooster           Has sonic field weapon           Voice with power to dispel evil
       Pig               Exceptional battle skills and    Associated with formidable mythological
                         reflexes                         warrior



                Additionally, like works that came before and after it—such as The Tiger's Apprentice,

     Jackie Chan Adventures, and Z-Force Zodiac Force '
                                                      °'—Plaintiff's screenplay features Chinese



      zodiac-powered heroes, some of whom are teenagers. 102 As Ihave explained, this is

      commonplace in literature and film building on the Chinese zodiac and builds on the centuries-

      old understanding that one's Chinese zodiac animal confers real-world character traits. 103




        Ihave reviewed paragraphs 20-22, 38, and 40 of Plaintiffs Complaint and base my
      understanding of Plaintiff's descriptions of those characters on those paragraphs, regardless
      whether Plaintiff's descriptions of those characters are reflected in his screenplay or character
      bios.

      100 See supra Part V(C). Ido not address powers and character traits that are rooted in other

      sources, such as Western tradition. For example, Plaintiff's rabbit character has the power of
      luck, see Antony, Zodiac Regiment 12 Character Bios, supra note 96 at 3, which is a
      commonplace Western association with rabbits.

      '°'   See supra Part Vl(C)(l).

      102 See Antony, Zodiac Regiment 12 Character Bios, supra note 96.


      103 See supra Part VI(C)(l).



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                B.     Plaintiff's Screenplay Reflects Other Tropes About China

                Plaintiff's screenplay reflects not only tropes associated with the Chinese zodiac, but also

      other tropes related to Chinese culture.

                Plaintiff's screenplay appears to draw on martial arts fiction, an ancient genre in China

     with many well-settled tropes. 104 In Chinese culture, and in particular the martial arts realm,

     there is aconcept called the jianghu, meaning the "realm of rivers and lakes." This is aliminal

     space inhabited by martial artists, kung fu masters, and superpowered wandering warriors who

     stand outside the normal world and are focused on justice and training. 105 The jianghu is the

     space of the battle between good and evil, stability and chaos, and any number of secret

     societies. 106 This is shown in popular kung fu-inspired movies like Crouching Tiger, Hidden

     Dragon, the Kill Bill trilogy, and even The Matrix series, where the heroes and villains both exist

     in aparallel world that dips into the world of normal people. Plaintiff's screenplay also echoes

     these themes, in the otherworldly characters of Lin Ching and Lee Ching and in the supernatural

     battle between order and chaos that they wage using their respective armies.

                Plaintiff's work contains other nods to Chinese culture, though it sometimes betrays a

     misunderstanding of that culture. For example, Plaintiff's screenplay contains references to the




      104   Wuxia, TV Tropes, https://tvtropes.org/pmwiki/pmwiki.php/Main/Wuxia (last visited Feb. 12,
     2023).
      105 Paper Swordsmen: Jin Yong and the Modern Chinese Martial Arts Novel          17-19 (John
     Christopher Hamm ed. 2006).

      106 Helena Yuen Wai Wu, A Journey Across Rivers and Lakes: A Look at the          Untranslatable
     Jianghu in Chinese Culture and Literature, 7452F 58-71 (July 23, 2012),
     https://452f.com/en/untranslatable-j ianghu-chinese-culture/.


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      Chinese yin/yang concept. This concept is widely recognized in the United States and is often

      represented using this symbol' 0':




      In China, the yin/yang concept signifies any fundamental pair of complementary qualities. For

      example, hot and cold are qualities that could be said to be in opposition. Heat is traditionally

      characterized as yang, and cold as yin; as something becomes colder, it necessarily becomes less

      hot. Neither hot nor cold is necessarily good or evil, and each has its causes and uses. In some

      representations, yang is associated with activity and construction and yin is associated with


      passivity and destruction' °8 ;the reverse is rarely, if ever, true. A chronic lack of balance

      between yin and yang can cause trouble or even catastrophe. 109

                Plaintiff's screenplay calls the villainous characters associated with chaos "Yang" and the

      heroic characters associated with order "Yin."' 10 If Plaintiff's story were based on afull

      understanding of the yin/yang concept, one would expect the nomenclature to be reversed and




      107   Yin and Yang, Wikipedia, https://en.wikipedia.org/wiki/Yin_and_yang (last visited June 7,
      2023).
      108 Wing-tsit Chan, A Source Book in Chinese Philosophy 244 (1973).


      109 Readings in Classical Chinese Philosophy 229 (P. J. Ivanhoe and Bryan W. Van Norden eds.,

      2d ed. 2005).

      110 Antony, Zodiac Regiment 12, supra note 96 at       12, 20.

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       his warring groups to reach balance at the end, rather than for one group to overcome the other.

       Indeed, at least one other work involving heroes with powers derived from the Chinese zodiac—

       Trancing the Tiger—uses the yin/yang concept in this manner.

                 The character names in Plaintiff's screenplay also betray ashallow understanding of

       Chinese or other Asian cultures. Plaintiff names an ostensibly Chinese character Steve Fin, but

       that is not aChinese surname. Another main character, Tommy Hoto (also called Thomas Chins

       in places), is said to be half Japanese and half Caucasian, but Tommy's Japanese grandfather is

       surnamed Ding—a Chinese, not Japanese, surname. 112 Plaintiff's ancient beings are named Lee

       Ching and Lin Ching and are said to be related—but Plaintiff has inadvertently given his related

       characters different surnames (Lee and Lin), not realizing that in Chinese surnames come before


       given names.

                 Plaintiff's screenplay thus draws on Chinese culture, or Chinese culture as filtered


       through an American perspective, in avariety of respects.




                                                       Respectfully subthited



        Date: dL          ,   2023




       '''   See supra Part \TI(C)(1).
       112   Plaintiff's work mashes up elements from other Asian cultures within the ostensibly Chinese-
       focused realm of his screenplay. For example, his screenplay features samurai, Antony, Zodiac
       Regiment 12, supra note 96 at 61, but the samurai are aJapanese warrior caste, Michael Wert,
       Samurai: A Very Short Introduction 4(2021). Samurai were real warriors sworn to serve lords
       who exerted actual political authority in Japanese society. Id. Plaintiff also seems to have
       confused Chinese and Japanese culture in other ways. For example, aChinese kung ft master is
       referred to as "Shihan," see Antony, Zodiac Regiment 12, supra note 96 at 44, which is a
       Japanese term, see M E ,Jisho, https://jisho.org/search/`/`E5`/`B8`/`AB%E7`/`AF%84 (last
       visited Apr. 2, 2023).

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                          Exhibit A
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                                     1679
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EDUCATION


UNIVERSITY OF CALIFORNIA, LOS ANGELES, CALIFORNIA


Ph.D. Modern Chinese Literature                                                            2012
       Dissertation: Narrative in Mao Dun's Eclipse Trilogy: A Conflicted Mao Dun
       Committee: Theodore Huters (Chair), Jack Chen, Andrea Goldman, David Schaberg, Michael Helm
       Exam Fields: Modern Chinese Literature, Classical Chinese Literature, Translation Theory and History

UNIVERSITY OF CALIFORNIA, SANTA BARBARA, CALIFORNIA


M.A. East Asian Languages and Cultural Studies                                           2006
      Thesis: Un-Translated: The Short Stories of Lin Shu

B.A. East Asian Languages and Cultural Studies                                           2003


ACADEMIC APPOINTMENTS

WASHINGTON COLLEGE, CHESTERTOWN, MARYLAND                                                20t5-

       Assistant Professor of Chinese Language, Literature, and Culture

UNIVERSITY OF PUGET SOUND, TACOMA, WASHINGTON

       Visiting Assistant Professor of Chinese                                           2013-2015

UNIVERSITY OF CALIFORNIA, LOS ANGELES, CALIFORNIA

       Lecturer                                                                          2013

       Teaching Fellow! ABD Lecturer                                                     2012

       Teaching Fellow                                                                   2010-2012

       Teaching Assistant                                                                2006-2008

UNIVERSITY OF CALIFORNIA, SANTA BARBARA, CALIFORNIA

       Lecturer                                                                          2006

       Teaching Assistant                                                                2005-2006

       Reader                                                                            2003-2004

RED RIVER ADVANCED TECHNICAL TRAINING CENTRE, SHENYANG, PRC

       English Instructor                                                                2000-2001
Case: 2:18-cv-00205-DLB-CJS Doc #: 132-6 Filed: 09/28/23 Page: 39 of 44 - Page ID#:
                                     1680
PUBLICATIONS

      "Value in What is Saved and What is Lost: Textology in Mao Dun's Eclipse." Frontiers of Literary
               Studies in China Vol 10, no.2 2016.

EDITING:

      "Mao Dun" in Twentieth-Century Literary Criticism. Trudeau, Lawrence J. ed. Farmington Hills,
               Mich: Gale, Cengage Learning. Vol 299. 2014.

TRANSLATION:

      FICTION: NOVELS, PLAYS, AND LONG-FORM:

               Zhang Tianyl.               The Pidgin Warrior. London: Balestier Press 2017.

             Mao Dun.   ""     Waverings. Hong Kong: Research Centre for Translation, Chinese
               University of Hong Kong Press. 2014.

      FICTION: EXCERPTS AND SHORT STORIES

             Li Jing. "1T" Lu Xun (selections). Chinese Literature Today. Vol 8 Number 2. University of
               Oklahoma Press. 2020

             Fei Dao. "*ftJ" "A Story of the End of the World" in The Sound of Salt Forming.
               University of Hawai'i Press. 2016.

           ffi Ai Wei. ")J" "The Chrysanthemum Blade" Chinese Literature Today, Vol 4 Number 2.
               Oklahoma University Press. 2014.

             Mao Dun.   "      ()" "Waverings (Selections)." Renditions, 80. Autumn 2013.

             Mao Dun.          (in)" "Waverings (Selections)." Renditions, 79. Spring 2013.

             Fei Dao.                "The Demon's Head." Renditions 77/78. Fall 2012.

             Mao Dun. ")j      ()" "Waverings (Selections)." Renditions, 75. Spring 2011.

      FICTION: REPUBLISHINGS

      Itt'f1t Al Wei. "iJJ" "The Chrysanthemum Blade" Short Fiction from 2000 Anthology (Title
               Not Confirmed). Chinese Literature Today Book Series, Oklahoma University Press.
               (Forthcoming)

             Fei Dao. ")jt" "The Demon's Head" in The Reincarnated Giant: Chinese Science
               Fiction in the Twenty-First Century: Taiwan, Hong Kong, and China. Mingwei Song and
               Ted Huters, Eds. New York: Columbia University Press. 2018.

      OTHER ACADEMIC TRANSLATIONS:

           1I, Cheng Kai. "Jf" "Modern Literature Studies." Chapter Forthcoming in the World
               Humanities Report (hftps://worldhumanitiesreport.org/).

               He Jixian. "Jl" "Contemporary Literature Studies." Chapter Forthcoming in
               the World Humanities Report (https://worldhumanitiesreporf.org/).

               Ba Zhanlong.                           "Bilingual Education in Ethnic Minority Areas."
               Chapter Contracted for the World Humanities Report
               (https://worldhumanitiesreport.org/).
Case: 2:18-cv-00205-DLB-CJS Doc #: 132-6 Filed: 09/28/23 Page: 40 of 44 - Page ID#:
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                       Sun Xiaomeng and Zhang Tianwei.                                   Education and
              Development in Less Commonly Taught Languages." Chapter Contracted for the World
              Humanities Report (https://worldhumanitiesreport.org/).

            Zhao Yang.         E3                            TqC'   The Contribution to China's Social
              Economy of Promoting Mandarin." Chapter Contracted for the World Humanities
              Report (https://worldhumanitiesreport.org/).

            Mao Dun. "U" "An Introduction to New Jewish Literature." In geveb: A
              Journal of Yiddish Studies (Editor/co-translator, 2020. https://ingeveb.org/texts-a nd-
              translations/a-survey-of-new-jewish-literature-i)

            Li Jing. "Ij W)             IJtj"       "An Interview with The Playwright Of Lu Xun, Li Jing."
              Chinese Literature Today. Vol 8 Number 2. University of Oklahoma Press. 2020

            Lai Ho. "{f n
                        ,PAJ I'A               bim" "May Our Buglers Play a March to Inspire
              the People." Taiwan Literature in English Translation, 15. 2002.

       XVK Huang Jung-b. "Aifl" "The Hakka People's Welcoming of Mazu." Taiwan
              Literature in English Translation, 14. 2002.

REVIEWS:

       Review of Taking China to the World: The Cultural Production of Modernity, Theodore Huters.
              Chinese Literature Essays Articles Reviews (Forthcoming).

       Review of Imperfect Understanding: Intimate Portraits of Chinese Celebrities, Wen Yuan-ning
             and Christopher Rea, eds. China Review International, vol. 24 no. 3, p. 225-227.
             University of Hawai'i. 2017.

       Review of A Hero Born: Legends of the Condor Heroes I, by Jin Yang, Anna Holmswood, trans.,
              Modern Chinese Literature and Culture, 2018. http://u.osu.edu/mcic/book-
              reviews/hull/

CONFERENCES, WORKSHOPS AND TALKS



Invited Lecture and Discussion for the University of Liverpool.
       "Translating Satire in the Pidgin Warrior"                                 April, 2021 (Online)


Invited Panelist: Seminar on Innovation in Chinese Language Education        -   University of Maastricht
Confucius Institute, Dongbei University of Finance and Economics
       "Teaching Chinese Through Building Video Games"                            July 2020 (Online)


NPR Education interview on having students make podcasts as research projects
                                                                                  (Feb 27, 2020, broadcast
                                                                                  cancelled)
Invited Lecture to the School of Chinese at Hong Kong University
       "Zhang Tianyi's Satire in the Pidgin Warrior"
                                                                                  Hong Kong, 2019
                                                                                  (Canceled due to public
                                                                                  unrest)


Interview by Carla Nappi for New Books in East Asian Studies on the Translation of The Pidgin Warrior
                                                                                  2018
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Panelist: Innovative Approaches to Teaching East Asia to Undergraduates, Southwest Conference on
Asian Studies
        The Familiar Made Foreign: Finding the Liberal Arts for Chinese Students"
                                                                              Dallas, 2017


Invited Talk on the Egge Collection: Collins Library, University of Puget Sound
       "Documenting the Slide from Hope to Chaos: The Road to Tiananmen"
                                                                             Tacoma, 2015


Interview by Carla Nappi for New Books in East Asian Studies on the Translation of Waverings
                                                                              2015

Panel Organizer and Panelist: Swindling by the Book: Chinese Stories of Fraud and Deception,
Association of Asian Studies
       "Zhang Tianyi's Swindling for National Salvation"                      Chicago, 2015

Panel Organizer and Panelist: Transforming the Canon: The Reconstruction of Modern Chinese
Literature, Association of Asian Studies
       "Conflicted: Mao Dun's Reconstruction of Eclipse"                     Toronto, Canada 2012

Panelist: Role of Translation in Nation Building, Nationalism and Supranationalism Conference. Indian
Translator's Association
        "The Creation of a Modern Ideological Translation in China."          Delhi, India, 2010

Panelist: The Translator's Visibility Conference. University of California
       "Win Shu's Translations: Transformations and Successful Errors."      Santa Barbara, 2010


Translator: Fudan University Workshop in Scholarly Translation.
       "Win Shu's Translations" (Qian Zhongshu, 1963).                        Shanghai, PRC, 2009

Conference Co-Organizer and Panelist: China Undisciplined Conference, University of California.
       "A Wavering Representation in Mao Dun's Dongyao"                       Los Angeles, 2009.

OTHER RELATED WORK

Expert Witness                                                                2022-

       Antony v. Buena Vista Books, Inc., No. 2:18-cv-205-DLB-CJS

Chinese Translation Toolkit                                                   2022-

       Laboratory for Analytic Sciences, NC State University

SERVICE

Associate Chair of the World Languages and Cultures Department                Fall 2023-

Host of the Flock to Faculty Podcast                                          2023-

First Year Seminar                                                            2016 Fall & Spring,
                                                                              '17, '18, '20, '21, '22 '23

First Year Advising                                                           2016, '17, '18, '20, '21, '22,
                                                                              '23
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Director of the Asian Studies Minor                                                 2017-

Advisor for the Chinese Student Union (Later Chinese Culture Club)                  2017-

Co-Advisor for the Washington College Veterans Association                          2017-

Summer Advising including "What Your Professors Expect of You" Panel                2017-

Admissions and Financial Aid Committee                                              2017-2018, 2022-

Search Committee       -   French IT                                                2022-3

Academic Resources and Services Committee                                           2018-22 (Chair '20-21)

Ad-Hoc Committee: Office Space Task Force                                           2020-1

Search Committee       -   Director for International Admissions                    2018

Ad-Hoc Committee: Revamp Arts Day                                                   2018

Search Committee       -   Chinese VAP                                              2017

FELLOWSHIPS AND AWARDS

Faculty Enhancement Award                                                           2019

Burlington Northern Curriculum Development Grant                                    2013

PEN Translation Fund Grant Award for Waverings                                      2010

Pre-Dissertation Fellowship at East China Normal University, Shanghai               2009-2010

UCLA Graduate Research Mentorship (Yearlong)                                        2008-2009

LANGUAGES

English   -   Native                           Chinese   -   Near Native

PROFESSIONAL ASSOCIATIONS

Association for Asian Studies

Modern Language Association

RELATED EXPERIENCE

UNIVERSITY OF CALIFORNIA EDUCATION ABROAD PROGRAM

          Beijing Normal University                                        Summer 2002
          Peking University                                                2002-3

WORLDLINK EDUCATION

          Tokyo                                                            Summer 2007
          Beijing                                                          Summer 2004

MILITARY

          United States Army MOS 98G Cryptologic Linguist                  1996-2000

DEFENSE LANGUAGE INSTITUTE, MONTEREY, CA

          Beginning Chinese Course                                         1996-1997
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PREVIOUS UNIVERSITY

      Stephen F. Austin State University, Theatre/History   1991-1993
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COURSES TAUGHT:

WASHINGTON COLLEGE, CHESTERTOWN, MARYLAND:
      First Year Seminar 101: Narrative in Revolution
      FYS 101: Digital Narratives
      International Languages and Cultures 351: Chinese Cinema: Ideology and the Box Office
      ILC 394: Stories of the Strange: From Fox Spirits to The Monkey King in Chinese Literature
      lLC 394: Chinese Literature Through the Ages
      Chinese 394: East Asian Pop Culture
      Chinese 10 1, 102, 201, 202


UNIVERSITY OF PUGET SOUND, TACOMA, WASHINGTON:
      Asian Languages & Cultures 335: The Chinese Classic Novel: Real Illusions, Virtuous Violence,
              and the Romance of the State
      ALC 325: Chinese Cinema: Ideology and the Box Office
      ALC 315: Narrative & Nation in Modern Chinese Literature
      ALC 215: Stories of the Strange: From Fox Spirits to The Monkey King in Chinese Literature
      Chinese 311: Chinese Thought: From the Dao to Mao
      CHIN 307: Through the Cinematic Lens: Old and New China in Film
      CHIN 305: Chinese Literary Texts
      CHIN 260: Situational Oral Expression
      CHIN 250: Culture and Communication
      CHIN 230: Grammar and Articulation


UNIVERSITY OF CALIFORNIA, LOS ANGELES, CALIFORNIA
      Chinese 151: Chinese Literature in Translation: Modern Literature
      CHIN 50: Chinese Civilization
      CHIN 70: Classics of Chinese Literature
      GE Cluster 21CW: Lost In Translation: Chinese Perspectives on Modernity

As Teaching Fellow/Assistant or Reader:


      UCLA:
      General Education Cluster 21A, B: History of Modern Thought
      CHIN 1, 2, 3,8: Elem. Chinese, Including Summer Intensive


      UCSB:
      EACS 4A, B: East Asian Cultural Traditions
       EASC/HIST 80: East Asian History
       EACS 183: Journey of the West
       EACS 159: Japanese Film
